                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

MEGAN KALEY VIERS,                                   )
                                                     )
                Plaintiff,                           )
                                                     )
       v.                                            )       No. 20-00201-CV-W-DPR-SSA
                                                     )
ANDREW M. SAUL,                                      )
                                                     )
                Defendant.                           )

                                             ORDER

       Before the Court is Plaintiff’s Motion for Attorney Fees. (Doc. 23.) Pursuant to the Equal

Access to Justice Act, Plaintiff requests an award of attorney fees in the amount of $6,750.00. Per

Defendant’s Response, Defendant has no objection to the relief requested. (Doc. 25.) Upon

review, the Court finds that Plaintiff is entitled to an award of attorney fees under the EAJA, and

the agreed amount is reasonable. Also, per Plaintiff’s Affidavit (doc. 23-2), the award may be

made payable to Roger M. Driskill. Accordingly, it is ORDERED that

                1. The Motion for Attorney Fees is GRANTED; and

                2. An award of attorney fees in the amount of $6,750.00 shall be paid by the Social
                   Security Administration, subject to offset to satisfy any pre-existing debt
                   Plaintiff may owe to the United States.

       IT IS SO ORDERED.

                                                     /s/ David P. Rush
                                                     DAVID P. RUSH
                                                     UNITED STATES MAGISTRATE JUDGE

DATE: November 2, 2020




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